JS 44 (Rev. 1/2013)

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing

rules of court. This form, approved by the Judicial Conference

provided by local
ng the civil docket sheet. (SEE INSTRUCTIONS

purpose of initiati
1. (a) PLAINTIFFS
Ronnie Sanders

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

Kings

CIVIL COVER SHEET

ers as required by law, except as

or other pap:
lerk of Court for the

and service of pleadings
of the United States in September 1974, is required for the use of the

ON NEXT PAGE OF THIS FORM.)

DEFENDANTS

The City of New York, Leonard Clarke, Tearle Connell, and Shae L.
Jackson

York:

 

County of Residence of First Listed Defendant New
. (IN U.S. PLAINTIFF CASES ONLY)
NOTE: INLAND CONDEMNATION CASES; USE THE LOCATION O

 

 

TRACT OF LAND INVOLVED.
(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)
Scott G. Cerbin, Esq., PLLC, 16 Court Street, Suite 2901 NYC Law Dept
Brooklyn NY 11241 (718) 596-1829 400 Church Street
New York NY 10007
Il. BASIS OF JURISDICTION (Place an “X” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1. U.S. Government 443° Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State () 1. 1 1 Incorporated or Principal Place ao4 04
of Business In This State
O02 US. Government 0 4 Diversity Citizen of Another State 0]. 2. «4 2 Incorporated and Principal Place os 05
Defendant (Indicate Citizenship of Parties in Item HD) of Business In Another State
Citizen or Subject of a 3 © 3. Foreign Nation o6 O06
Foreign Country

 

 

 

IV. NATURE OF SUIT (Piace an ‘

 

 
 
   

    
         
  
    
    

 

 

 

     

 

       
   

    
  
 
 

   

   
   
  

  
     
 

   

  

 
    

           

 
     

    
 

   

  

 

 

 

 

 

 

CONTRACT : BS yl BANKRUPTCS OTHER STATUTE
O 110 Insurance PERSONAL I PERSONAL INJURY | 625 Drug Related Seizure (0 422 Appeal 28 USC 158 (1 375 False Claims Act
120 Marine 0 310 Airplane (J 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal (J 400 State Reapportionment
130 Miller Act (0 315 Airplane Product Product Liability OF 690 Other 28 USC 157 © 410 Antitrust
© 140 Negotiable Instrument Liability (1 367 Health Care/ 430 Banks and Banking
(3 150 Recovery of Overpayment {0 320 Assault, Libel & Pharmaceutical z 4 C1 450 Commerce
& Enforcement of Judgment Slander Personal Injury © 820 Copyrights (3 460 Deportation
(3 151 Medicare Act (0 330 Federal Employers’ Product Liability 0 830 Patent (] 470 Racketeer Influenced and
(1 152 Recovery of Defaulted Liability (C0 368 Asbestos Personal 1 840 Trademark Corrupt Organizations
Student Loans 1 340 Marine Injury Product 0 480 Consumer Credit
(Excludes Veterans) 0 345 Marine Product Liability BO SOC EC) 40 490 Cable/Sat TV
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY | 710 Fair Labor Standards 0 861 HIA (1395 C850 Securities/Commodities/
of Veteran’s Benefits (1 350 Motor Vehicle O 370 Other Fraud Act 0 862 Black Lung (923) Exchange
O 160 Stockholders’ Suits 6 355 Motor Vehicle C1 371 Truth in Lending 0 720 Labor/Management C1 863 DIWC/DIWW (405(g)) | 0 890 Other Statutory Actions
190 Other Contract Product Liability ) 380 Other Personal Relations (J 864 SSID Title XVI 1 891 Agricultural Acts
(1 195 Contract Product Liability | 1 360 Other Personal Property Damage 1 740 Railway Labor Act ( 865 RSI (405(g)) 0 893 Environmental Matters
(0 196 Franchise Injury 0 385 Property Damage (0 751 Family and Medical (C895 Freedom of Information
(0 362 Personal Injury - Product Liability Leave Act Act
i i (1 790 Other Labor Litigation O 896 Arbitration
So oe + PRISONER EI 1 791 Employee Retirement “SFEDERAL SULTS 0 899 Administrative Procedure
(8 210 Land Condemnation wm 44 ‘abeas Corpus: Income Security Act CO 870 Taxes (U.S. Plaintiff Act/Review or Appeal of
(0 220 Foreclosure 0 441 Voting 0 463 Alien Detainee or Defendant) Agency Decision
C1 230 Rent Lease & Ejectment (7 442 Employment J 510 Motions to Vacate 0 871 IRS—Third Party 0 950 Constitutionality of
0 240 Torts to Land © 443 Housing/ Sentence 26 USC 7609 State Statutes
J 245 Tort Product Liability Accommodations 1 530 General
290 All Other Real Property (1 445 Amer. w/Disabilities -| 1} 535 Death Penalty TT IMMIGRATION
Employment Other: ( 462 Naturalization Application
C1 446 Amer. w/Disabilities -] 540 Mandamus & Other |( 465 Other Immi gration
Other 1 550 Civil Rights Actions
0 448 Education CO) 555 Prison Condition
1) 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
M1 Original O12 Removed from | 3. Remanded from 4 Reinstated or (J 5 Transferred from O 6 Multidistrict
Proceeding State Court Appellate Court Reopened Ano District Litigation
‘speci,
Cite the Se Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION Brief description of cause:

 

false arrest, falsification of evidence

VII. REQUESTED IN

(] CHECK IF THIS IS A CLASS ACTION

DEMAND $ CHECK YES only if demanded in complaint:

 

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Yes No

VITI. RELATED CASE(S) 5
instructions):

IF ANY (See instruction): nga LA. DOCKET NUMBER _
DATE SI F ATTORNEY OF RECORD
01/22/2015 °
FOR OFFICE USE ONLY /

RECEIPT # AMOUNT AJ*PLYING IFP JUDGE MAG. JUDGE

 
CERTIFICATION OF ARBITRATION ELIGIBILITY
Local Arbitration Rule 83.10 provides that with certain exceptions, actions seeking money damages only in an amount not in excess of $150,000,
exclusive of interest and costs, are eligible for compulsory arbitration. The amount of damages is presumed to be below the threshold amount unless a

certification to the contrary is filed.

], Scott G. Corbin , counsel for Plaintif , do hereby certify that the above captioned civil action is
ineligible for compulsory arbitration for the following reason(s):

monetary damages sought are in excess of $150,000, exclusive of interest and costs,
oO the complaint seeks injunctive relief,
CO the matter is otherwise ineligible for the following reason

DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1

 

Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:

RELATED CASE STATEMENT (Section VIII on the Front of this Form)

Please list all cases that are arguably related pursuant to Division of Business Rule 50.3.1 in Section VIII on the front of this form. Rule 50.3.1 (a)
provides that “A civil case is “related” to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or
because the cases arise from the same transactions or events, a substantial saving of judicial resources is likely to result from assigning both cases to the
same judge and magistrate judge.” Rule 50.3.1 (b) provides that “ A civil case shall not be deemed “related” to another civil case merely because the civil
case: (A) involves identical legal issues, or (B) involves the same parties.” Rule 50.3.1 (c) further provides that “Presumptively, and subject to the power
of a judge to determine otherwise pursuant to paragraph (d), civil cases shall not be deemed to be “related” unless both cases are still pending before the

court.”

NY-E DIVISION OF BUSINESS RULE 50.1(d)(2)

1.) Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
County: Ne

2.) If you answered “no” above:
a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk
County?Ne

b) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in the Eastern
District? Yes

If your answer to question 2 (b) is “No,” does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, in an interpleader action, does the claimant (or a majority of the claimants, if there is more than one) reside in Nassau

or Suffolk County?
(Note: A corporation shall be considered a resident of the County in which it has the most significant contacts).

BAR ADMISSION

I am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.
Yes CI] No

Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?
Yes (If yes, please explain) No

 
 

l certify the accuradggt att information provided above.
Ce

Signature:

 

 
